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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IRON MAIDEN HOLDINGS LTD.,

        Plaintiff,
                                                       Case No.: 1:18-cv-522
v.
                                                       Judge Jorge L. Alonso
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”, Magistrate Judge Maria Valdez

        Defendants.

         MEMORANDUM IN SUPPORT OF PLAINTIFF’S EX PARTE MOTION FOR
     ENTRY OF A TEMPORARY RESTRAINING ORDER, INCLUDING A TEMPORARY
        INJUNCTION, A TEMPORARY TRANSFER OF THE DEFENDANT DOMAIN
       NAMES, A TEMPORARY ASSET RESTRAINT, EXPEDITED DISCOVERY, AND
        SERVICE OF PROCESS BY E-MAIL AND/OR ELECTRONIC PUBLICATION

         Plaintiff Iron Maiden Holdings Ltd. (“IMHL” or “Plaintiff”) submits this Memorandum in

 support of its Ex Parte Motion for Entry of a Temporary Restraining Order, including a temporary

 injunction, a temporary transfer of the Defendant Domain Names, a temporary asset restraint,

 expedited discovery, and service of process by email and/or electronic publication (the “Ex Parte

 Motion”).
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                                  MEMORANDUM OF LAW

I.      INTRODUCTION AND SUMMARY OF ARGUMENT

        Plaintiff brings this action against the defendants identified on Schedule A to the

Complaint (collectively, the “Defendants”) for federal trademark infringement and counterfeiting

(Count I), false designation of origin (Count II), and violation of the Illinois Uniform Deceptive

Trade Practices Act (Count III). As alleged in the Complaint, Defendants are promoting,

advertising, marketing, distributing, offering for sale, and selling counterfeit products in

connection with Plaintiff’s federally registered trademarks (collectively, the “Counterfeit IRON

MAIDEN Products”), through various fully interactive commercial Internet websites operating

under at least the Defendant Domain Names and Online Marketplace Accounts listed in

Schedule A to the Complaint (collectively, the “Defendant Internet Stores”). In short, Defendants

run a counterfeiting operation with disregard for anything except generating profits.

        The Defendants create numerous Defendant Internet Stores with an intent to have them

appear to be selling genuine products, while actually selling unauthorized and unlicensed

Counterfeit IRON MAIDEN Products to unknowing consumers. The Defendant Internet Stores

share unique identifiers, such as design elements and similarities of the counterfeit products

offered for sale, establishing a logical relationship between them and suggesting that Defendants’

counterfeiting operation arises out of the same transaction, occurrence, or series of transactions

or occurrences. Defendants attempt to avoid liability by concealing both their identities and the

full scope and interworking of their counterfeiting operation. Plaintiff has filed this action to

combat Defendants’ infringement and counterfeiting of Plaintiff’s registered trademarks, as well

as to protect unknowing consumers from purchasing Counterfeit IRON MAIDEN Products over

the Internet.



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       This Court has personal jurisdiction over Defendants because each Defendant targets

Illinois residents and has offered to sell, and on information and belief, has sold and continues to

sell Counterfeit IRON MAIDEN Products to consumers within the United States, including the

State of Illinois. Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products being sold in connection with Plaintiff’s IRON MAIDEN trademarks.

Defendants directly target unlawful business activities toward consumers in Illinois, cause harm

to Plaintiff’s business within this Judicial District, and have caused and will continue to cause

irreparable injury to Plaintiff. Defendants deceive the public by trading upon Plaintiff’s

reputation and goodwill by using their commercial, interactive Internet Stores to sell and/or offer

for sale unlicensed Counterfeit IRON MAIDEN Products in connection with Plaintiff’s

trademark.

       Defendants’ ongoing unlawful activities should be restrained, and Plaintiff respectfully

requests that this Court issue an ex parte a Temporary Restraining Order. Specifically, Plaintiff

seeks an order: (1) temporarily restraining Defendants’ continued manufacture, importation,

distribution, offering for sale, and sale of Counterfeit IRON MAIDEN Products; (2) temporarily

transferring the Defendant Domain Names to Plaintiff so that the continued use of the domains in

carrying out acts of infringement can be temporarily disabled; and (3) temporarily restraining

Defendants’ assets to preserve Plaintiff’s right to an equitable accounting. Ancillary to and as

part of the TRO, Plaintiff respectfully requests that this Court (4) authorize expedited discovery

allowing Plaintiff to inspect and copy Defendants’ records relating to the manufacture,

distribution, offering for sale, and sale of Counterfeit IRON MAIDEN Products and Defendants’




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financial accounts; and (5) authorize service by electronic mail and/or electronic publication at

the Defendant Domain Names.

        In light of the covert nature of offshore counterfeiting activities and the vital need to

establish an economic disincentive for trademark infringement, courts regularly issue such

orders. See, e.g., Michael Kors, L.L.C. v. The Partnerships and Unincorporated Associations

Identified on Schedule “A”, No. 15-cv-00124 (N.D. Ill. Jan. 21, 2015); Monster Energy Co. v.

The Partnerships and Unincorporated Associations Identified on Schedule “A”, No. 15-cv-

00277 (N.D. Ill. Jan. 21, 2015); see also, In re Vuitton et Fils, S.A., 606 F.2d 1 (2d Cir. 1979)

(holding that ex parte temporary restraining orders are indispensable to the commencement of an

action when they are the sole method of preserving a state of affairs in which the court can

provide effective final relief).

        Plaintiff’s well-pleaded factual allegations, which must be accepted as true, and evidence

submitted through declarations, establishes that issuing a temporary restraining order against

Defendants is necessary and proper. Plaintiff can demonstrate a strong likelihood of success on

the merits. Plaintiff is the owner of several trademark registrations, and Defendants’ use of

Plaintiff’s trademarks to sell Counterfeit IRON MAIDEN Products is causing consumer

confusion.

        In addition, Defendants have and continue to irreparably harm Plaintiff through

diminished goodwill and damage to Plaintiff’s reputation. Monetary damages are inadequate to

Plaintiff for these damages. This makes injunctive relief particularly appropriate in this matter.

        Issuance of an injunction is also in the public interest because it will prevent confusion

among the public and prevent unknowing consumers from being deceived into purchasing

Counterfeit IRON MAIDEN Products.



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        In addition, an order authorizing the transfer of the Defendant Domain Names to

Plaintiff’s control so that the continued use of the domains in carrying out acts of infringement

can be temporarily disabled is warranted pursuant to 15 U.S.C. § 1116(a) which authorizes this

Court “to grant injunctions … to prevent the violation of any right of the registrant of a mark….”

Moreover, under Federal Rule of Civil Procedure 65(d)(2)(C), this Court has the power to bind

any third parties, such as domain name registries and financial institutions, who are in active

concert with the Defendants or who aid and abet Defendants and are given actual notice of the

order. Similarly, a prejudgment asset freeze is also proper since Plaintiff seeks an equitable

remedy in the accounting of Defendants’ profits pursuant to 15 U.S.C. § 1117(a). Finally, an

order authorizing service of process by email and/or electronic publication is proper since as a

result of Defendants’ intentional efforts to conceal their identities and operate their business

online. Serving Defendants electronically is the best method for notifying them of this action and

providing them the opportunity to defend and present their objections.

II.     STATEMENT OF FACTS

        A.     Plaintiff’s Trademarks and Products

       Plaintiff is the global leader in the business of developing, marketing, selling and

distributing the IRON MAIDEN brand of products associated with IRON MAIDEN, an English

metal band formed in Leyton, East London, in 1975 by bassist and primary songwriter Steve

Harris. See Declaration of Paul Varley (the “Varley”) at ¶¶ 4-5. Long before Defendants’ acts

described herein, Plaintiff launched its IRON MAIDEN brand products. Id. at ¶ 6. Plaintiff is the

owner of trademark registrations for the IRON MAIDEN Trademarks (collectively, the “IRON

MAIDEN Trademark”). Id. The U.S. registrations for the IRON MAIDEN Trademarks are valid,

subsisting, and in full force and effect. Id. at ¶ 7. True and correct copies of the federal trademark

registration certificates for the IRON MAIDEN Trademark is attached to the Varley Declaration
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as Exhibit 1.

        The IRON MAIDEN Trademarks are distinctive and identify the merchandise as goods

from Plaintiff. Id. at ¶ 8. The registration for the IRON MAIDEN Trademarks constitute prima

facie evidence of their validity and of Plaintiff’s exclusive right to use the IRON MAIDEN

Trademarks have been continuously used and never abandoned. Id. at ¶ 9. Plaintiff has expended

time, money, and other resources in developing, advertising, and otherwise promoting the IRON

MAIDEN Trademark. Id. at 10. As a result, products bearing the IRON MAIDEN Trademark is

recognized and exclusively associated by consumers, the public, and the trade as being products

sourced from Plaintiff. Id.

        B.          Defendants’ Unlawful Activities

        The success of the IRON MAIDEN brand has resulted in it being counterfeited. Id. at ¶

11. Plaintiff has identified numerous domain names linked to fully interactive websites and

marketplace listings on platforms such as iOffer and Aliexpress, including the Defendant Internet

Stores, which were offering for sale, selling, and importing Counterfeit IRON MAIDEN

Products to consumers in this Judicial District and throughout the United States. Id. Internet

websites like the Defendant Internet Stores are estimated to receive tens of millions of visits per

year and to generate over $135 billion in annual online sales. Declaration of Keith A. Vogt (the

“Vogt” Declaration) at ¶ 2. According to an intellectual property rights seizures statistics reports

issued by Homeland Security, the manufacturer’s suggested retail price (MSRP) of goods seized

by the U.S. government since 2012 annually exceeds $1.2 billion. Id. at ¶ 3. Internet websites

like the Defendant Internet Stores are also estimated to contribute to tens of thousands of lost

jobs for legitimate businesses and broader economic damages such as lost tax revenue every

year. Id. at ¶ 4.



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               i. Defendants Operate Legitimate-Looking Internet Stores

       Upon information and belief, Defendants facilitate sales by designing the Defendant

Internet Stores so that they appear to unknowing consumers to be authorized online retailers,

outlet stores, or wholesalers selling genuine IRON MAIDEN Products. Varley Declaration at ¶

13. Many of the Defendant Internet Stores look sophisticated and accept payment in U.S. dollars

via credit cards, Western Union and PayPal. Id. Defendant Internet Stores often include images

and design elements that make it very difficult for consumers to distinguish such counterfeit sites

from an authorized website. Id. Defendants further perpetuate the illusion of legitimacy by

offering “live 24/7” customer service and using indicia of authenticity and security that

consumers have come to associate with authorized retailers, including the McAfee® Security,

VeriSign®, Visa®, MasterCard®, and PayPal® logos. Id. Plaintiff has not licensed or authorized

Defendants to use its IRON MAIDEN Trademarks, and none of the Defendants are authorized

retailers of genuine IRON MAIDEN Products. Id.

               ii. Defendants Illegitimately Optimize the Defendant Internet Stores for Search
                   Engines

       Upon information and belief, Defendants also deceive unknowing consumers by using

the IRON MAIDEN Trademarks without authorization within the content, text, and/or meta tags

of their websites in order to attract various search engines crawling the Internet looking for

websites relevant to consumer searches for IRON MAIDEN Products. Id. at ¶ 14. Additionally,

upon information and belief, Defendants use other unauthorized search engine optimization

(SEO) tactics and social media spamming so that the Defendant Internet Stores listings show up

at or near the top of relevant search results and misdirect consumers searching for genuine IRON

MAIDEN Products. Id. Further, Defendants utilize similar illegitimate SEO tactics to propel new

domain names to the top of search results after others are shut down. Id. As such, Plaintiff also

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seeks to disable Defendant Domain Names owned by Defendants that are the means by which

the Defendants could continue to sell Counterfeit IRON MAIDEN Products.

               iii. Defendants Use Fictitious Aliases and Common Tactics to Evade Shut Down

       Defendants go to great lengths to conceal their identities and often use multiple fictitious

names and addresses to register and operate their network of Defendant Internet Stores. Id. at ¶

15. Other Defendant Domain Names use privacy services that conceal the owners’ identity and

contact information. Id. Upon information and belief, Defendants regularly create new websites

and online marketplace accounts on various platforms using the identities listed in Schedule A to

the Complaint, as well as other unknown fictitious names and addresses. Id. Such Defendant

Internet Store registration patterns are one of many common tactics used by the Defendants to

conceal their identities, the full scope and interworking of their counterfeiting operation, and to

avoid being shut down. Id.

       Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendant Internet Stores. Id. at ¶ 16. For example, many of the

Defendant websites have virtually identical layouts, even though different aliases were used to

register the respective domain names. Id. In addition, Counterfeit IRON MAIDEN Products for

sale in the Defendant Internet Stores bear similar indicia of being counterfeit to one another,

suggesting that the Counterfeit IRON MAIDEN Products were manufactured by and come from

a common source and that, upon information and belief, Defendants are interrelated. Id. The

Defendant Internet Stores also include other notable common features, including use of the same

domain name registration patterns, unique shopping cart platforms, accepted payment methods,

check-out methods, meta data, illegitimate SEO tactics, HTML user-defined variables, domain

redirection, lack of contact information, identically or similarly priced items and volume sales



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discounts, the same incorrect grammar and misspellings, similar hosting services, similar name

servers, and the use of the same text and images.

       In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. Id. at ¶ 17. See also, Vogt Declaration at ¶ 5. For example,

counterfeiters like Defendants will often register new domain names or online marketplace

accounts under new aliases once they receive notice of a lawsuit. Id. See also, Vogt Declaration

at ¶ 5. Counterfeiters also often move website hosting to rogue servers located outside the United

States once notice of a lawsuit is received. Id. See also, Vogt Declaration at ¶ 6. Rogue servers

are notorious for ignoring take down demands sent by brand owners. Id. See also, Vogt

Declaration at ¶ 6. Counterfeiters also typically ship products in small quantities via international

mail to minimize detection by U.S. Customs and Border Protection. Id. A 2012 U.S. Customs

and Border Protection report on seizure statistics indicated that the Internet has fueled “explosive

growth” in the number of small packages of counterfeit goods shipped through the mail and

express carriers. Vogt Declaration at ¶ 3.

       Further, counterfeiters such as Defendants typically operate multiple credit card merchant

accounts and PayPal accounts behind layers of payment gateways so that they can continue

operation. Varley Declaration at ¶ 18. Upon information and belief, Defendants maintain off-

shore bank accounts and regularly move funds from their accounts to off-shore bank accounts

outside the jurisdiction of this Court. Id. See also, Vogt Declaration at ¶ 7. Indeed, analysis of

transaction logs from similar cases brought by other trademark owners indicates that off-shore

counterfeiters regularly move funds from their U.S. accounts to China-based bank accounts

outside the jurisdiction of this Court. Vogt Declaration at ¶ 9.



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         Plaintiff’s well-pleaded allegations regarding registration patterns, similarities among the

Defendant Internet Stores and the Counterfeit IRON MAIDEN Products for sale thereon, and

common tactics employed to evade enforcement establish a logical relationship among the

Defendants suggesting that Defendants are an interrelated group of counterfeiters. Upon

information and belief, Defendants are working in active concert to knowingly and willfully

manufacture, import, distribute, offer for sale, and sell products in connection with counterfeit

versions of the IRON MAIDEN trademarks in the same transaction, occurrence, or series of

transactions or occurrences. As indicated above, the tactics used by Defendants to conceal their

identities and the full scope of their counterfeiting operation make it virtually impossible for

Plaintiff to discover the true identities of the Defendants, the exact interworking of the

Defendants’ counterfeit network, and the relationship among Defendants. In the event that

Defendants provide additional credible information regarding their identities, Plaintiff will take

appropriate steps to amend the Complaint.

III.     ARGUMENT

         Defendants’ purposeful, intentional, and unlawful conduct is causing and will continue to

cause irreparable harm to Plaintiff’s reputation and the goodwill symbolized by the IRON

MAIDEN Trademarks. To stop Defendants’ sale of Counterfeit IRON MAIDEN Products,

Plaintiff respectfully requests that this Court issue a temporary restraining order ordering, among

other things, the transfer of the Defendant Domain Names to Plaintiff to redirect to a website

providing notice of these proceedings and the freezing of Defendants’ assets. Without the relief

requested by Plaintiff’s instant Motion, Defendants’ unlawful activity will continue unabated,

and Plaintiff and consumers will suffer irreparable harm.

         Rule 65(b) of the Federal Rules of Civil Procedure provides that the Court may issue an

ex parte temporary restraining order where immediate and irreparable injury, loss, or damage
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will result to the applicant before the adverse party or that party's attorney can be heard in

opposition. Fed. R. Civ. P. 65(b). The Defendants here fraudulently promote, advertise, offer to

sell, and sell goods in connection with counterfeits of the IRON MAIDEN Trademark via the

Defendant Internet Stores. Defendants are creating a false association in the minds of consumers

between the Defendants and Plaintiff by deceiving consumers into believing that the Counterfeit

IRON MAIDEN Products for sale on Defendants’ websites are sponsored or endorsed by

Plaintiff. The entry of a temporary restraining order is appropriate because it would immediately

stop the Defendants from benefiting from their wrongful use of the IRON MAIDEN Trademarks

and preserve the status quo until such time as a hearing can be held.

       In the absence of a temporary restraining order without notice, the Defendants can and

likely will modify registration data and content, change hosts, redirect traffic to other websites in

their control, and move any assets from U.S.-based accounts, including PayPal accounts. Courts

have recognized that civil actions against counterfeiters present special challenges that justify

proceeding on an ex parte basis. See Columbia Pictures Indus., Inc. v. Jasso, 927 F. Supp. 1075,

1077 (N.D. Ill. 1996) (observing that “proceedings against those who deliberately traffic in

infringing merchandise are often useless if notice is given to the infringers”). As such, Plaintiff

respectfully requests that this Court issue the requested ex parte temporary restraining order. This

Court has original subject matter jurisdiction over the claims in this action pursuant to the

provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., 28 U.S.C. §§ 1338(a)-(b), and 28 U.S.C.

§ 1331. This Court has jurisdiction over the claims in this action that arise under the laws of the

State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are so related to the

federal claims that they form part of the same case or controversy and derive from a common

nucleus of operative facts. Venue is proper in this Court pursuant to 28 U.S.C. § 1391.



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           A. This Court May Exercise Personal Jurisdiction over Defendants

       This Court may properly exercise personal jurisdiction over Defendants since Defendants

directly target business activities toward consumers in the United States, including Illinois, by

directly offering for sale products into this Judicial District as well as through at least the fully

interactive, commercial Defendant Internet Stores. Specifically, Defendants are reaching out to

do business with Illinois residents by operating one or more commercial, interactive Defendant

Internet Stores through which Illinois residents can purchase products bearing counterfeit

versions of the IRON MAIDEN Trademarks. Each Defendant has targeted sales from Illinois

residents by operating online stores that offer shipping to the United States, including Illinois,

and has offered to sell, and on information and belief, has sold and continues to sell Counterfeit

IRON MAIDEN Products to consumers within the United States, including the State of Illinois.

See Complaint at ¶¶ 2, 20 and 21. Without the benefit of an evidentiary hearing, plaintiff bears

only the burden of making a prima facie case for personal jurisdiction; all of plaintiff's asserted

facts should be accepted as true and any factual determinations should be resolved in its favor.

See uBID, Inc. v. GoDaddy Group, Inc. 623 F.3d 421, 423 (7th Cir. 2010); see also, Purdue

Research Found. v. Sanofi-Sythelabo, S.A., 338 F.3d 773, 782 (7th Cir. 2003) (“When

determining whether a plaintiff has met his burden, jurisdictional allegations pleaded in the

complaint are accepted as true unless proved otherwise by defendants' affidavits or exhibits.”).

       Illinois courts regularly exercise personal jurisdiction over websites using registered

trademarks without authorization in connection with the offering for sale and selling of

infringing and counterfeit merchandise to Illinois residents over the Internet. 735 ILCS 5/2-

209(a)(2). See, e.g., See, e.g., Christian Dior Couture, S.A. v. Liu, 2015 U.S. Dist. LEXIS

158225 (N.D. Ill. Nov. 17, 2015); Monster Energy Co. v. Chen Wensheng, 2015 U.S. Dist.

LEXIS 132283 (N.D. Ill. Sept. 29, 2015).
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       Through at least the fully interactive commercial Internet websites operating under the

Defendant Domain Names and the marketplace listings operated using the Online Marketplace

Accounts, each of the Defendants has targeted sales from Illinois residents by offering shipping

to the United States, including Illinois, and, on information and belief, has sold or offered to sell

Counterfeit IRON MAIDEN Products to residents of the United States, including Illinois. Each

of the Defendants is committing tortious acts in Illinois, is engaging in interstate commerce, and

has wrongfully caused Plaintiff substantial injury in the State of Illinois.

       B.      Standard for Temporary Restraining Order and Preliminary Injunction

       District Courts within this Circuit hold that the standard for granting a temporary

restraining order and the standard for granting a preliminary injunction are identical. See, e.g.

Charter Nat’l Bank & Trust v. Charter One Fin., Inc., No. 1:01-cv-00905, 2001 WL 527404, *1

(N.D. Ill. May 15, 2001) (citation omitted). A party seeking to obtain a preliminary injunction

must demonstrate: (1) that its case has some likelihood of success on the merits; (2) that no

adequate remedy at law exists; and (3) that it will suffer irreparable harm if the injunction is not

granted. See Ty, Inc. v. The Jones Group, Inc., 237 F.3d 891, 895 (7th Cir. 2001).

       If the Court is satisfied that these three conditions have been met, then it must consider

the harm that the nonmoving party will suffer if preliminary relief is granted, balancing such

harm against the irreparable harm the moving party will suffer if relief is denied. Id. Finally, the

Court must consider the potential effect on the public interest (non-parties) in denying or

granting the injunction. Id. The Court then weighs all of these factors, “sitting as would a

chancellor in equity,” when it decides whether to grant the injunction. Id. (quoting Abbott Labs.

v. Mead Johnson & Co., 971 F.2d 6, 11 (7th Cir. 1992)). This process involves engaging in what

the Court has deemed “the sliding scale approach” – the more likely the plaintiff will succeed on

the merits, the less the balance of harms need favor the plaintiff's position. Id. The sliding scale
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approach is not mathematical in nature, rather “it is more properly characterized as subjective

and intuitive, one which permits district courts to weigh the competing considerations and mold

appropriate relief.” Id. at 895-896. The greater the movant's likelihood of succeeding on the

merits, the less the balancing of harms need be in his favor. See Eli Lilly & Co. v. Natural

Answers, Inc., 233 F.3d 456, 461 (7th Cir. 2000).

       C.     Plaintiff Will Likely Succeed on the Merits

              i. Plaintiff Will Likely Succeed on Its Trademark Infringement and
                 Counterfeiting Claim

       A defendant is liable for trademark infringement and counterfeiting under the Lanham

Act if it, “without the consent of the registrant, uses in commerce any reproduction, copy, or

colorable imitation of a registered mark in connection with the sale, offering for sale,

distribution, or advertising of any goods … which such use[s] is likely to cause confusion, or to

cause mistake, or to deceive.” 15 U.S.C. § 1114(1). To prove a prima facie case of infringement,

a plaintiff must show (1) its mark is distinctive enough to be worthy of protection; (2)

Defendants are not authorized to use the trademark; and (3) Defendants’ use of the trademark

causes a likelihood of confusion as to the origin or sponsorship of Defendants’ products. See

Neopost Industrie B.V. v. PFE Int’l Inc., 403 F. Supp. 2d 669, 684 (N.D. Ill. 2005) (citation

omitted). Plaintiff satisfies all three requirements of the Lanham Act to successfully bring a

trademark infringement and counterfeiting claim.

       Regarding the first two elements, Plaintiff’s IRON MAIDEN Trademarks are inherently

distinctive and are registered with the United States Patent and Trademark Office on the

Principal Register. The IRON MAIDEN Trademarks have been continuously used. Varley

Declaration at ¶¶ 5-8. The registrations for the IRON MAIDEN Trademarks are valid, subsisting,

and in full force and effect. Id. The registrations for the IRON MAIDEN Trademarks constitute


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prima facie evidence of their validity and of Plaintiff’s exclusive right to use the IRON

MAIDEN Trademarks pursuant to 15 U.S.C. § 1057(b). Furthermore, Plaintiff has not licensed

or authorized Defendants to use any of the IRON MAIDEN Trademarks, and none of the

Defendants are authorized retailers of genuine IRON MAIDEN Products. Id. at ¶ 13.

       Plaintiff satisfies the third factor, as well. Some courts do not undertake a factor-by-factor

analysis under Polaroid Corp. v. Polarad Electronics Corp., 287 F.2d 492, 495 (2d Cir. 1961)

because counterfeits, by their very nature, cause confusion. See Topps Co., Inc. v. Gerrit J.

Verburg Co., 41 U.S.P.Q.2d 1412, 1417 (S.D.N.Y.1996) ("Where the marks are identical, and

the goods are also identical and directly competitive, the decision can be made directly without a

more formal and complete discussion of all of the Polaroid factors."); Polo Fashions, Inc. v.

Craftex, Inc., 816 F.2d 145, 148 (4th Cir.1987) ("Where, as here, one produces counterfeit goods

in an apparent attempt to capitalize upon the popularity of, and demand for, another's product,

there is a presumption of a likelihood of confusion.").

       The Seventh Circuit, however, has enumerated seven factors to determine whether there

is a likelihood of confusion: (1) similarity between the marks in appearance and suggestion; (2)

similarity of the products; (3) area and manner of concurrent use; (4) degree of care likely to be

exercised by consumers; (5) strength of complainant's mark; (6) actual confusion; and, (7) intent

of the defendants to palm off their products as that of another. Eli Lilly, 233 F.3d at 461-462

(citation omitted). These factors are not a mechanical checklist, and “[t]he proper weight given to

each of [the] factors will vary from case to case.” Dorr-Oliver, Inc. v. Fluid-Quip, Inc., 94 F.3d

376, 381 (7th Cir. 1996). At the same time, although no one factor is decisive, the similarity of

the marks, the intent of the defendant, and evidence of actual confusion are the most important




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considerations. G. Heileman Brewing Co., Inc. v. Anheuser-Busch, Inc., 873 F.2d 985, 999 (7th

Cir. 1989).

        In this case, Plaintiff plainly satisfies the likelihood of confusion test. The Defendants are

selling Counterfeit IRON MAIDEN Products using counterfeit marks identical to the IRON

MAIDEN Trademarks. As such, the first and second likelihood of confusion factors weigh

heavily in favor of Plaintiff.

        Plaintiff also satisfies the third factor, namely, the area and manner of concurrent use.

When considering the third factor, a court looks at “whether there is a relationship in use,

promotion, distribution or sales between the goods or services of the parties.” CAE, Inc. v. Clean

Air Eng’g Inc., 267 F.3d 660, 681 (7th Cir. 2001). A court also looks to whether the parties used

the same channels of commerce, targeted the same general audience, and/or used similar

marketing procedures. Id. Here, both Plaintiff and Defendants show the same products using the

IRON MAIDEN Trademarks to the same consumers. See Exhibit 2 to the Varley Declaration.

Thus, because Defendants target the same consumers as Plaintiff, this factor also weighs in favor

of Plaintiff.

        Regarding the fourth factor, degree of consumer care, potential consumers purchasing

IRON MAIDEN Products are not restricted to a certain specialized, sophisticated group of

people. Rather, the consumer base is a diverse group of people. “[W]hen a buyer class is mixed,

the standard of care to be exercised by the reasonably prudent purchaser will be equal to that of

the least sophisticated consumer in the class.” Trans Union LLC v. Credit Research, Inc., 142 F.

Supp. 2d 1029, 1043 (N.D. Ill. 2001) (citation omitted). As such, IRON MAIDEN brand

consumers are very likely to be confused, so this factor favors Plaintiff.




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        Due to their long-standing use and wide acceptance by the public, the IRON MAIDEN

Trademarks have become associated with high quality IRON MAIDEN Products. The IRON

MAIDEN Trademarks are distinctive when applied to the IRON MAIDEN Products. The marks

signify to consumers that the products come from Plaintiff and are manufactured to quality

standards. Thus, the fifth factor, the strength of the marks, also weighs heavily in favor of

Plaintiff.

        As for the sixth factor, Plaintiff does not need to prove likelihood of confusion with

evidence of actual confusion; instead, it merely needs to show some evidence of potential

confusion. See Libman Co. v. Vining Indus., Inc., 69 F.3d 1360, 1363 (7th Cir.1995); see also

Sands, Taylor & Wood Co. v. Quaker Oats Co., 978 F.2d 947, 960 (7th Cir. 1992) (the Seventh

Circuit has consistently found that “plaintiff need not show actual confusion in order to establish

likelihood of confusion.”). In this case, actual confusion can be inferred because Defendants are

selling counterfeit IRON MAIDEN Products in connection with the IRON MAIDEN

Trademarks. Because the goods are similar and have identical and similar uses, consumers will

be confused and think that Defendants’ products are genuine IRON MAIDEN Products or are

sponsored or endorsed by Plaintiff. This factor weighs in favor of Plaintiff.

        Regarding the seventh and final factor, Defendants are intentionally using the IRON

MAIDEN Trademarks to confuse and deceive the consuming public into thinking that

Defendants’ Counterfeit IRON MAIDEN Products are manufactured by or emanate from

Plaintiff. Defendants are purposefully attempting to benefit and trade off Plaintiff’s goodwill and

reputation. Therefore, the final factor regarding Defendants’ intent also weighs heavily in

Plaintiff’s favor.




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       In sum, each of the seven likelihood of confusion factors weighs heavily in favor of

Plaintiff, and, therefore, Plaintiff has proved that it has a reasonable likelihood of success on the

merits for its trademark infringement and counterfeiting claim.

               ii. Plaintiff Is Likely to Succeed on Its False Designation of Origin Claim

       A plaintiff bringing a false designation of origin claim under 15 U.S.C. § 1125(a) must

show that: (1) the plaintiff has a protectable trademark; and (2) a likelihood of confusion will

exist as to the origin of plaintiff’s products. All Star Championship Racing, Inc. v. O’Reilly Auto.

Stores, Inc., 2013 WL 1701871, *10 (C.D. Ill. Apr. 18, 2013) (citing Johnny Blastoff, Inc. v. Los

Angeles Rams Football Co., 188 F. 3d 427, 436 (7th Cir. 1999)). This is the same test that is used

for determining whether trademark infringement has occurred under the Lanham Act. See

Neopost, 403 F. Supp. 2d at 684. Because the IRON MAIDEN Trademarks are registered marks,

and Plaintiff has established a likelihood of success on the merits of its trademark infringement

and counterfeiting claim against Defendants (supra), a likelihood of success on the merits for

Plaintiff’s false designation of origin claim is also established.

               iii. Plaintiff Is Likely to Succeed on Its Illinois Uniform Deceptive Trade
                    Practices Act Claim

       In Illinois, courts resolve unfair competition and deceptive trade practices claims

“according to the principles set forth under the Lanham Act.” Spex, Inc. v. Joy of Spex, Inc., 847

F. Supp. 567, 579 (N.D. Ill. 1994). Illinois courts look to federal case law and apply the same

analysis to state infringement claims. Id. at 579 (citation omitted). The determination as to

whether there is a likelihood of confusion is similar under both the Lanham Act and the Illinois

Uniform Deceptive Trade Practices Act. Am. Broad. Co. v. Maljack Prods., Inc., 34 F. Supp. 2d

665, 681 (N.D. Ill. 1998). Because Plaintiff has established a likelihood of success on the merits

of its trademark infringement and counterfeiting claim against Defendants (supra), and the

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standard is the same under Illinois law, Plaintiff has established a likelihood of success on the

merits for its Illinois Uniform Deceptive Trade Practices Act claim.

       D.      There Is No Adequate Remedy at Law and Plaintiff Will Suffer Irreparable
               Harm in the Absence of Preliminary Relief

       The Seventh Circuit has “clearly and repeatedly held that damage to a trademark holder's

goodwill can constitute irreparable injury for which the trademark owner has no adequate legal

remedy.” Re/Max N. Cent., Inc. v. Cook, 272 F.3d 424, 432 (7th Cir. 2001) (citing Eli Lilly &

Co. v. Natural Answers, Inc., 233 F.3d 456, 469 (7th Cir. 2000)); Meridian Mut. Ins. Co. v.

Meridian Ins. Group, Inc., 128 F.3d 1111, 1114 (7th Cir. 1997); Wesley–Jessen Division of

Schering Corp. v. Bausch & Lomb Inc., 698 F.2d 862, 867 (7th Cir.1983). Irreparable injury

“almost inevitably follows” when there is a high probability of confusion because such injury

“may not be fully compensable in damages.” Helene Curtis Industries, Inc. v. Church & Dwight

Co., Inc., 560 F.2d 1325, 1332 (7th Cir. 1977) (citation omitted). “The most corrosive and

irreparable harm attributable to trademark infringement is the inability of the victim to control

the nature and quality of the defendants’ goods.” Int’l Kennel Club of Chicago, Inc. v. Mighty

Star, Inc., 846 F.2d 1079, 1092 (7th Cir. 1988); see also 4 Callmann on Unfair Competition,

Trademarks and Monopolies § 88.3(b) at 205 (3d ed. 1970). As such, monetary damages are

likely to be inadequate compensation for such harm. Ideal Indus., Inc. v. Gardner Bender, Inc.,

612 F.2d 1018, 1026 (7th Cir. 1979).

       Defendants’ unauthorized use of the IRON MAIDEN Trademarks has and continues to

irreparably harm Plaintiff through diminished goodwill and brand confidence, damage to

Plaintiff’s reputation, loss of exclusivity, and loss of future sales. Varley Declaration at ¶¶ 19-24.

       The extent of the harm to Plaintiff’s reputation and goodwill and the possible diversion of

customers due to loss in brand confidence are both irreparable and incalculable, thus warranting


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an immediate halt to Defendants’ infringing activities through injunctive relief. See Promatek

Industries, Ltd. v. Equitrac Corp., 300 F.3d 808, 813 (7th Cir. 2002) (Finding that damage to

plaintiff’s goodwill was irreparable harm for which plaintiff had no adequate remedy at law);

Gateway Eastern Railway Co. v. Terminal Railroad Assoc. of St. Louis, 35 F.3d 1134, 1140 (7th

Cir. 1994) (“[S]howing injury to goodwill can constitute irreparable harm that is not

compensable by an award of money damages.”). Plaintiff will suffer immediate and irreparable

injury, loss, or damage if an ex parte Temporary Restraining Order is not issued in accordance

with Federal Rule of Civil Procedure 65(b)(1). Varley Declaration at ¶ 25. As such, Plaintiff

should be granted preliminary relief.

        E.      The Balancing of Harms Tips in Plaintiff’s Favor

        As noted above, if the Court is satisfied that Plaintiff has demonstrated (1) a likelihood of

success on the merits, (2) no adequate remedy at law, and (3) the threat of irreparable harm if

preliminary relief is not granted, then it must next consider the harm that Defendants will suffer

if preliminary relief is granted, balancing such harm against the irreparable harm Plaintiff will

suffer if relief is denied. Ty, Inc., 237 F.3d at 895.

        As willful infringers, Defendants are entitled to little equitable consideration. “When

considering the balance of hardships between the parties in infringement cases, courts generally

favor the trademark owner.” Krause Int’l Inc. v. Reed Elsevier, Inc., 866 F. Supp. 585, 587-88

(D.D.C. 1994). This is because “[o]ne who adopts the marks of another for similar goods acts at

his own peril since he has no claim to the profits or advantages thereby derived.” Burger King

Corp. v. Majeed, 805 F. Supp. 994, 1006 (S.D. Fla. 1992) (internal quotation marks omitted).

Therefore, the balance of harms “cannot favor a defendant whose injury results from the

knowing infringement of the plaintiff's trademark.” Malarkey-Taylor Assocs., Inc. v. Cellular

Telecomms. Indus. Ass’n, 929 F. Supp. 473, 478 (D.D.C. 1996).
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       As Plaintiff has demonstrated, Defendants have been profiting from the sale of

Counterfeit IRON MAIDEN Products. Thus, the balance of equities tips decisively in Plaintiff’s

favor. As such, equity requires that Defendants be ordered to cease their unlawful conduct.

       F.      Issuance of the Injunction Is in the Public Interest

       An injunction in these circumstances is in the public interest because it will prevent

consumer confusion and stop Defendants from violating federal trademark law. The public is

currently under the false impression that Defendants are operating their Defendant Internet

Stores with Plaintiff’s approval and endorsement. An injunction serves the public interest in this

case “because enforcement of the trademark laws prevents consumer confusion.” Eli Lilly, 233

F.3d at 469.

       Federal courts have long held that “the trademark laws ... are concerned not alone with

the protection of a property right existing in an individual, but also with the protection of the

public from fraud and deceit.” Stahly, Inc. v. M.H. Jacobs Co., 183 F.2d 914, 917 (7th Cir. 1950)

(citations omitted). The public interest is further served by protecting “the synonymous right of a

trademark owner to control his product's reputation.” James Burrough Ltd. v. Sign of the

Beefeater, Inc., 540 F.2d 266, 274 (7th Cir. 1976); see also Shashi, Inc. v. Ramada Worldwide,

Inc., No. 7:05-cv-00016-JGW-mfu, 2005 WL 552593, *4 (W.D. Va. Mar. 1, 2005) (“It is in the

best interest of the public for the court to defend the integrity of the intellectual property system

and to prevent consumer confusion”).

       In this case, the injury to the public is significant, and the injunctive relief that Plaintiff

seeks is specifically intended to remedy that injury by dispelling the public confusion created by

Defendants’ actions. The public has the right not to be confused and defrauded as to the source

of the goods and services offered by Defendants, or as to the identity of the owner of trademarks

and service marks used in connection with those goods and services. Unless Defendants’
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unauthorized use of the IRON MAIDEN Trademarks is enjoined, the public will continue to be

confused and misled by Defendants’ conduct.

       For these reasons, it is respectfully submitted that granting Plaintiff’s Motion for Entry of

a Temporary Restraining Order is in the public interest.

IV.    THE EQUITABLE RELIEF SOUGHT IS APPROPRIATE

       In addition to this Court’s inherent authority to issue injunctive relief, the Lanham Act

authorizes courts to issue injunctive relief “according to the principles of equity and upon such

terms as the court may deem reasonable, to prevent the violation of any right of the registrant of

a mark ….” 15 U.S.C. § 1116(a). Furthermore, Rule 65(b) of the Federal Rules of Civil

Procedure provides that a court may issue a temporary restraining order without notice where

facts show that the movant will suffer immediate and irreparable injury, loss, or damage before

the adverse party can be heard in opposition. Moreover, under Federal Rule of Civil Procedure

65(d)(2)(C), this Court has the power to bind any third parties, such as domain name registries

and financial institutions, who are in active concert with the Defendants or who aid and abet

Defendants and are given actual notice of the order. Fed. R. Civ. P. 65. The facts in this case

warrant such relief.

        A.     A Temporary Restraining Order Immediately Enjoining Defendants’
               Unauthorized and Unlawful Use of Plaintiff’s Marks Is Appropriate

       Plaintiff requests a temporary injunction requiring the Defendants to immediately cease

all use of the IRON MAIDEN Trademarks or substantially similar marks on or in connection

with all Defendant Internet Stores. Such relief is necessary to stop the ongoing harm to the IRON

MAIDEN Trademarks and associated goodwill, as well as harm to consumers, and to prevent the

Defendants from continuing to benefit from their unauthorized use of the IRON MAIDEN

Trademarks.


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       The need for ex parte relief is magnified in today’s global economy where counterfeiters

can operate over the Internet in an anonymous fashion. Plaintiff is currently unaware of both the

true identities and locations of the Defendants, as well as other Defendant Internet Stores used to

distribute Counterfeit IRON MAIDEN Products.

       Many courts have authorized immediate injunctive relief in similar cases involving the

unauthorized use of trademarks and counterfeiting. See, e.g. Michael Kors, L.L.C. v. The

Partnerships and Unincorporated Associations Identified on Schedule “A”, No. 15-cv-00124

(N.D. Ill. Jan. 21, 2015); Monster Energy Co. v. The Partnerships and Unincorporated

Associations Identified on Schedule “A”, No. 15-cv-00277 (N.D. Ill. Jan. 21, 2015).

        B.     Transferring the Defendant Domain Names to Plaintiff’s Control Is
               Appropriate

       As a part of the Temporary Restraining Order, Plaintiff also seeks temporary transfer of

the Defendant Domain Names to Plaintiff’s control in order to disable the counterfeit websites

and electronically publish notice of this case to Defendants. Defendants involved in domain

name litigation easily can, and often will, change the ownership of a domain name or continue

operating the website while the case is pending. Accordingly, to preserve the status quo and

ensure the possibility of eventual effective relief, courts in trademark cases involving domain

names regularly grant the relief requested herein. See, e.g., the Counterfeit Website Cases, supra

at p. 28; see also Board of Directors of Sapphire Bay Condos. W. v. Simpson, 129 F. App’x 711

(3d Cir. 2005) (affirming District Court’s granting of the preliminary injunction ordering

defendant to “cancel his registration of the domain name and refrain from using the name, or any

derivative thereof, for any Web site under his ownership or substantial control”); Philip Morris

U.S.A., Inc. v. Otamedia Ltd., 331 F. Supp. 2d 228, 246 (S.D.N.Y. 2004) (granting order

transferring ownership of Defendant’s Internet domain names to Plaintiff); Ford Motor Co., 126


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F. Supp. 2d at 466 (granting Plaintiff’s preliminary injunction because, among other things,

“Defendant's misappropriation of the goodwill [Plaintiff] has developed in the mark by

registering the [infringing] Internet domain name ... significantly tarnishes [Plaintiff’s]

reputation”).

       As such, Plaintiff respectfully requests that, as part of the Temporary Restraining Order,

the Court require the relevant registries and/or registrars for the Defendant Domain Names to

transfer the Defendant Domain Names to Plaintiff.

       C.       Preventing the Fraudulent Transfer of Assets Is Appropriate

       Plaintiff requests an ex parte restraint of Defendants’ assets so that Plaintiff’s right to an

equitable accounting of Defendants’ profits from sales of Counterfeit IRON MAIDEN Products

is not impaired. Issuing an ex parte restraint will ensure Defendants’ compliance. If such a

restraint is not granted in this case, Defendants may disregard their responsibilities and

fraudulently transfer financial assets to overseas accounts before a restraint is ordered.

Specifically, upon information and belief, the Defendants in this case hold most of their assets in

China, making it easy to hide or dispose of assets, which will render an accounting by Plaintiff

meaningless.

       Courts have the inherent authority to issue a prejudgment asset restraint when plaintiff’s

complaint seeks relief in equity. Animale Grp. Inc. v. Sunny’s Perfume Inc., 256 F. App’x 707,

709 (5th Cir. 2007); Levi Strauss & Co. v. Sunrise Int’l Trading Inc., 51 F.3d 982, 987 (11th Cir.

1995); Reebok Int'l Ltd. v. Marnatech Enters., Inc., 970 F.2d 552, 559 (9th Cir. 1992). In

addition, Plaintiff has shown a strong likelihood of succeeding on the merits of its trademark

infringement and counterfeiting claim, so according to the Lanham Act 15 U.S.C. § 1117(a)(1),

Plaintiff is entitled, “subject to the principles of equity, to recover ... defendant’s profits.”

Plaintiff’s Complaint seeks, among other relief, that Defendants account for and pay to Plaintiff
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all profits realized by Defendants by reason of Defendants’ unlawful acts. Therefore, this Court

has the inherent equitable authority to grant Plaintiff’s request for a prejudgment asset freeze to

preserve the relief sought by Plaintiff.

       The Northern District of Illinois in Lorillard Tobacco Co. v. Montrose Wholesale

Candies entered an asset restraining order in a trademark infringement case brought by a tobacco

company against owners of a store selling counterfeit cigarettes. Lorillard, 2005 WL 3115892, at

*13 (N.D. Ill. Nov. 8, 2005). The Court, citing Grupo Mexicano de Desarollo, S.A. v. Aliance

Bond Fund, 527 U.S. 308 (1999), recognized that it was explicitly allowed to issue a restraint on

assets for lawsuits seeking equitable relief. Id. (citing Grupo Mexicano, 527 U.S. at 325 (citing

Deckert v. Independence Shares Corp., 311 U.S. 282 (1940)). Because the tobacco company

sought a disgorgement of the storeowner’s profits, an equitable remedy, the Court found that it

had the authority to freeze the storeowner’s assets. Id.; see also Animale Grp. Inc. v. Sunny’s

Perfume Inc., 256 F. App’x 707, 709 (5th Cir. 2007); Levi Strauss & Co. v. Sunrise Int’l Trading

Inc., 51 F.3d 982, 987 (11th Cir. 1995); Reebok Int'l Ltd. v. Marnatech Enters., Inc., 970 F.2d

552, 559 (9th Cir. 1992); CSC Holdings, Inc. v. Redisi, 309 F.3d 988 (7th Cir. 2002) (“since the

assets in question ... were the profits of the [defendants] made by unlawfully stealing [the

plaintiffs’] services, the freeze was appropriate and may remain in place pending final

disposition of this case.”); accord 5 J. Thomas McCarthy, McCarthy on Trademarks and Unfair

Competition § 30:40 (4th ed. 2013). In addition, courts in this district and across the country

regularly issue asset-restraining orders for entire financial accounts in cases involving the sale of

counterfeit products. See, e.g., the Counterfeit Website Cases, supra at p. 28.

       Plaintiff has shown a likelihood of success on the merits, an immediate and irreparable

harm suffered as a result of Defendants’ activities, and that, unless Defendants’ assets are frozen,



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Defendants will likely hide or move their ill-gotten funds to offshore bank accounts.

Accordingly, the granting of an injunction preventing the transfer of Defendants’ assets is

proper.

          D.     Plaintiff Is Entitled to Expedited Discovery

          The Supreme Court has held that “federal courts have the power to order, at their

discretion, the discovery of facts necessary to ascertain their competency to entertain the merits.”

Vance v. Rumsfeld, No. 1:06-cv-06964, 2007 WL 4557812, *6 (N.D. Ill. Dec. 21, 2007) (quoting

Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351, 98 S. Ct. 2380 (1978)). A district court

has wide latitude in determining whether to grant a party's request for discovery. Id. (citation

omitted). Furthermore, courts have broad power over discovery and may permit discovery in

order to aid in the identification of unknown defendants. See Fed. R. Civ. P. 26(b)(2); Gillespie

v. Civiletti, 629 F.2d 637, 642 (9th Cir. 1980).

          As described above, Defendants are using third-party payment processors such as Visa,

PayPal, and Western Union, which helps to increase their anonymity by interposing a third party

between the consumer and Defendants. Without being able to discover Defendants’ bank and

payment system accounts, any asset restraint would be of limited value because Plaintiff would

not know the entities upon whom to serve the order.

          Plaintiff respectfully requests expedited discovery to discover bank and payment system

accounts Defendants use for their counterfeit sales operations. The discovery requested on an

expedited basis in Plaintiff’s Proposed Temporary Restraining Order has been limited to include

only what is essential to prevent further irreparable harm. Discovery of these financial accounts

so that they can be frozen is necessary to ensure that these activities will be contained.

          Under Federal Rule of Civil Procedure 65(d)(2)(C), this Court has the power to bind any

third party who is in active concert with the Defendants that is given notice of the order to
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provide expedited discovery in this action. Fed. R. Civ. P. 65(d)(2)(C). Plaintiff’s counsel is

aware that the same third parties, in previous lawsuits, have worked with trademark owners and

is not aware of any reason that Defendants or third parties cannot comply with these expedited

discovery requests without undue burden. Further, all relevant third parties have in fact complied

with identical requests in previous similar cases. More importantly, as Defendants have engaged

in many deceptive practices in hiding their identities and accounts, Plaintiff’s seizure and asset

restraint in the Temporary Restraining Order may have little meaningful effect without the

requested relief. Accordingly, Plaintiff respectfully requests that expedited discovery be granted.

       E.      Service of Process by E-mail and/or Electronic Publication Is Warranted in
               this Case

       Pursuant to Federal Rule of Civil Procedure 4(f)(3), Plaintiff requests this Court’s

authorization to serve process by electronically publishing a link to the Complaint, the

Temporary Restraining Order, and other relevant documents on a website to which the

Defendant Domain Names that are transferred to Plaintiff’s control will redirect, and/or by

sending an e-mail to the e-mail addresses identified in Exhibit 2 to the Varley Declaration and

any e-mail addresses provided for Defendants by third parties that includes a link to said website.

Plaintiff submits that providing notice via electronic publication and/or e-mail, along with any

notice that Defendants receive from domain name registrars and payment processors, is

reasonably calculated under all circumstances to apprise Defendants of the pendency of the

action and afford them the opportunity to present their objections.

       Electronic service is appropriate and necessary in this case because the Defendants, on

information and belief: (1) have provided false names and physical address information in their

registrations for the Defendant Domain Names in order to conceal their locations and avoid

liability for their unlawful conduct; and (2) rely primarily on electronic communications to


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communicate with their registrars and customers, demonstrating the reliability of this method of

communication by which the registrants of the Defendant Domain Names may be apprised of the

pendency of this action. Authorizing service of process solely via e-mail and/or electronic

publication will benefit all parties and the Court by ensuring that Defendants receive prompt

notice of this action, thus allowing this action to move forward expeditiously. Absent the ability

to serve Defendants in this manner, Plaintiff will almost certainly be left without the ability to

pursue a final judgment.

       According to Section 3.7.7.1 of the Registrar Accreditation Agreement established by the

Internet Corporation for Assigned Names and Numbers (“ICANN”), an individual or entity that

registers a domain name is required to provide “accurate and reliable contact details and

promptly correct and update them during the term of the … registration, including … postal

address.” See Vogt Declaration at ¶ 10. An investigation of the WhoIs information for each of

the respective Defendant Domain Names for which registration information is available reveals

that Defendants appear to have ignored the applicable ICANN regulations and provided false

physical address information to the domain name registrars in order to avoid full liability. Vogt

Declaration at ¶ 11. For example, many of Defendants’ names and physical addresses used to

register the Defendant Domain Names are incomplete, contain randomly typed letters, fail to

include cities or states, or use privacy services that conceal this information. Id. Identical contact

information among multiple domain names also suggests that many of the aliases used to register

the Defendant Domain Names are used by the same individual or entity. Id.

       Despite providing false physical addresses, the registrants of the Defendant Domain

Names must generally provide an accurate e-mail address so that their registrars may

communicate with them regarding issues related to the purchase, transfer, and maintenance of



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the various accounts. Likewise, Online Marketplace Account operators accepting PayPal must

provide a valid email address to customers for completing payment. Moreover, it is necessary for

merchants, such as the registrants of the Defendant Domain Names, who operate entirely online,

to visit their Internet Store to ensure it is functioning and to communicate with customers

electronically. As such, it is far more likely that Defendants can be served electronically than

through traditional service of process methods.

       Federal Rule of Civil Procedure 4(f)(3) allows this Court to authorize service of process

by any means not prohibited by international agreement as the Court directs. Rio Props., Inc. v.

Rio Int’l Interlink, 284 F.3d 1007, 1014 (9th Cir. 2002). The Ninth Circuit in Rio Properties

held, “without hesitation,” that e-mail service of an online business defendant “was

constitutionally acceptable.” Id. at 1017. The Court reached this conclusion, in part, because the

defendant conducted its business over the Internet, used e-mail regularly in its business, and

encouraged parties to contact it via e-mail. Id.

       Similarly, a number of Courts, including the Northern District of Illinois, have held that

alternate forms of service pursuant to Rule 4(f)(3), including e-mail service, are appropriate and

may be the only means of effecting service of process “when faced with an international e-

business scofflaw.” Id. at 1018; see also, e.g., the Counterfeit Website Cases, supra at p. 28; see

also, MacLean-Fogg Co. v. Ningbo Fastlink Equip. Co., Ltd., No. 1:08-cv-02593, 2008 WL

5100414, *2 (N.D. Ill. Dec. 1, 2008) (holding e-mail and facsimile service appropriate); Popular

Enters., LLC v. Webcom Media Group, Inc., 225 F.R.D. 560, 563 (E.D. Tenn. 2004) (quoting

Rio, 284 F.3d at 1018) (allowing e-mail service); see also Juniper Networks, Inc. v. Bahattab,

No. 1:07-cv-01771-PLF-AK, 2008 WL 250584, *1-2, (D.D.C. Jan. 30, 2008) (citing Rio, 284

F.3d at 1017-1018; other citations omitted) (holding that “in certain circumstances ... service of



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process via electronic mail ... is appropriate and may be authorized by the Court under Rule

4(f)(3) of the Federal Rules of Civil Procedure”).

       Plaintiff submits that allowing service solely by e-mail and/or electronic publication in

the present case is appropriate and comports with constitutional notions of due process,

particularly given the decision by the registrants of the Defendant Domain Names to conduct

their Internet-based activities anonymously.

       Furthermore, Rule 4 does not require that a party attempt service of process by other

methods enumerated in Rule 4(f) before petitioning the court for alternative relief under Rule

4(f)(3). Rio Props. v. Rio Intern. Interlink, 284 F.3d 1007, 1014-15 (9th Cir. 2002). As the Rio

Properties Court explained, Rule 4(f) does not create a hierarchy of preferred methods of service

of process. Id. at 1014. To the contrary, the plain language of the Rule requires only that service

be directed by the court and not be prohibited by international agreement. There are no other

limitations or requirements. Id. Alternative service under Rule 4(f)(3) is neither a “last resort”

nor “extraordinary relief,” but is rather one means among several by which an international

defendant may be served. Id. As such, this Court may allow Plaintiff to serve the defendants via

electronic publication and/or e-mail.

       Additionally, Plaintiff is unable to determine the exact physical whereabouts or identities

of the registrants of the Defendant Domain Names due to their provision of false and incomplete

street addresses. Plaintiff, however, has good cause to suspect the registrants of the respective

Defendant Domain Names are all residents of China. The United States and the People’s

Republic of China are both signatories to the Hague Convention on the Service Abroad of

Judicial and Extra Judicial Documents in Civil and Commercial Matters (the “Convention”).

Vogt Declaration at ¶ 12. The Hague Convention does not preclude service by email, and the



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declarations to the Hague Convention filed by China do not appear to expressly prohibit email

service. Id. Additionally, according to Article 1 of The Hague Convention, the “convention shall

not apply where the address of the person to be served with the document is not known.” Id. As

such, United States District Courts, including in this District, routinely permit alternative service

of process notwithstanding the applicability of the Hague Convention. See e.g., In re Potash

Antitrust Litig., 667 F. Supp. 2d 907, 930 (N.D. Ill. 2009) (“plaintiffs are not required to first

attempt service through the Hague Convention.”); see also In re LDK Solar Secs. Litig., 2008

WL 2415186,*2 (N.D. Cal. Jun. 12, 2008) (authorizing alternative means of service on Chinese

defendants without first attempting “potentially fruitless” service through the Hague

Convention’s Chinese Central Authority); Nanya Tech. Corp. v. Fujitsu Ltd., No. 1:06-cv-00025,

2007 WL 269087, *6 (D. Guam Jan. 26, 2007) (Hague Convention, to which Japan is a

signatory, did not prohibit e-mail service upon Japanese defendant); Popular Enters., LLC v.

Webcom Media Group, Inc., 225 F.R.D. 560, 562 (E.D. Tenn. 2004) (recognizing that, while

“communication via e-mail and over the internet is comparatively new, such communication has

been zealously embraced within the business community”). In addition, the law of the People’s

Republic of China does not appear to prohibit electronic service of process. Vogt Declaration at ¶

13. The proposed Temporary Restraining Order provides for issuance of single original

summons 1 in the name of “2015idhanz and all other Defendants identified in the Complaint” that

shall apply to all Defendants in accordance with Federal Rule of Civil Procedure 4(b). As such,

Plaintiff respectfully requests this Court’s permission to serve Defendants via e-mail and/or

electronic publication.


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         The Advisory Committee Notes to the 1993 Amendment to Rule 4(b) states, “If there are multiple
       defendants, the plaintiff may secure issuance of a summons for each defendant, or may serve copies of a
       single original bearing the names of multiple defendants if the addressee of the summons is effectively
       identified.” Fed. R. Civ. P. 4(b) advisory committee notes (1993) (emphasis added).

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V.      A BOND SHOULD SECURE THE INJUNCTIVE RELIEF

        The posting of security upon issuance of a temporary restraining order or preliminary

injunction is vested in the Court’s sound discretion. Rathmann Grp. v. Tanenbaum, 889 F.2d

787, 789 (8th Cir. 1989); Hoechst Diafoil Co. v. Nan Ya Plastics Corp., 174 F.3d 411, 421 (4th

Cir. 1999); Fed. R. Civ. P. 65(c). Because of the strong and unequivocal nature of Plaintiff’s

evidence of counterfeiting, infringement, and unfair competition, Plaintiff respectfully requests

that this Court require Plaintiff to post a bond of no more than Ten Thousand U.S. Dollars

($10,000.00). See, e.g., Monster Energy Co. v. Chen Wensheng, 136 F. Supp. 3d 897, 910-11

(N.D. Ill. 2015).

VI.     CONCLUSION

        Plaintiff’s business, its IRON MAIDEN brand, and consumers are being irreparably

harmed. Without entry of the requested relief, the sale of Counterfeit IRON MAIDEN Products

will continue to lead prospective purchasers and others to believe that Defendants’ products have

been manufactured by or emanate from Plaintiff. Therefore, entry of an ex parte order is

necessary to protect Plaintiff’s trademark rights, to prevent further harm to Plaintiff and the

consuming public, and to preserve the status quo. In view of the foregoing and consistent with

previous similar cases, Plaintiff respectfully requests that this Court enter a Temporary

Restraining Order in the form submitted herewith and set a status hearing before the expiration

of the Temporary Restraining Order at which hearing Plaintiff intends to present a motion for

preliminary injunction.




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DATED: January 24, 2018                           Respectfully submitted,

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                                                  ATTORNEY FOR PLAINTIFF


                              CERTIFICATE OF SERVICE

                The undersigned hereby certifies that a true and correct copy of the above and
foregoing document was electronically filed on January 24, 2018 with the Clerk of the Court
using the CM/ECF system, which will automatically send an email notification of such filing to
all registered attorneys of record.

                                                  /s/ Keith A. Vogt
                                                  Keith A. Vogt




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